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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §     CASE NO. 2:05-CR-00003-JRG-RSP
                                                §
 MACEE DION GREEN.                              §

                            REPORT AND RECOMMENDATION OF
                            UNITED STATES MAGISTRATE JUDGE

        On May 13, 2015, the Court conducted a hearing to consider the government’s petition to

 revoke the supervised release of Defendant.        The government was represented by Richard

 Moore, Assistant United States Attorney for the Eastern District of Texas, and Defendant was

 represented by Ken Hawk.

        On August 15, 2006, Defendant pled guilty before U.S. District Judge T. John Ward to

 the offense of Possession with Intent to Distribute Cocaine Base, a Class B felony (Count 52),

 and Use and Carrying of a Firearm During a Drug Trafficking Crime, a Class A felony (Count

 74). This offense carried a statutory maximum imprisonment term of life. The United States

 Sentencing Guideline range, based on a total offense level of 30 and a criminal history category

 of IV, was 135 to 168 months. Defendant was sentenced to 150 months of imprisonment,

 followed by a four year term of supervised release. The sentence was subsequently reduced to

 130 months imprisonment followed by four years supervised release subject to the standard

 conditions of release, plus special conditions to include financial disclosure, drug treatment and

 testing. Defendant completed the term of imprisonment and began his period of supervised

 release on June 4, 2014.

        On July 9, 2014, U.S. District Judge Rodney Gilstrap modified the conditions of

 supervised release to include compliance with the requirements of the Sex Offender Registration
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 and Notification Act (42 U.S.C. § 16901, et seq.). On April 21, 2015, Judge Gilstrap further

 modified the conditions of supervised release by requiring the defendant reside in a residential

 reentry center for a period of 180 days, pay subsistence, and abide by the rules and regulations of

 the center during his stay.

        Among other things under the terms of supervised release, Defendant was to refrain from

 excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

 narcotic or other controlled substance, or any paraphernalia related to such substances, except as

 prescribed by a physician. In pertinent part, the government alleges in its petition that Defendant

 violated the terms of supervised release when he submitted a urine specimen that tested positive

 for marijuana on November 1, 2014.

        Based on 5th Circuit case law, the Court can find that illicit drug use constitutes

 possession. Therefore, should the Court find by a preponderance of the evidence that Defendant

 violated the conditions of supervised release by possessing marijuana, Defendant will be in

 violation of Texas Health and Safety Code §481.121 and be guilty of committing a Grade C

 violation. U.S.S.G. § 7B1.3(a)(1) indicates that upon a finding of a Grade C violation, the Court

 may revoke or extend a term of supervision and/or modify the conditions of supervision.

 U.S.S.G. § 7B1.3(a)(2). Considering Defendant’s criminal history category of IV, the Guideline

 imprisonment range for a Grade C violation is 6 to 12 months. U.S.S.G. § 7B1.4(a).

        At the May 13, 2015 hearing, Defendant pled true to the allegations above.              The

 government recommended that Defendant Macee Green be committed to the custody of the

 Bureau of Prisons for 10 months with no supervised release to follow.

        Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

 Defendant Macee Green be committed to the custody of the Bureau of Prisons for 10 months at



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 FCI Seagoville, Texas with no supervised release to follow.               The Court further

 RECOMMENDS Defendant receives substance abuse treatment while imprisoned.

        Defendant has waived his right to object to the findings of the Magistrate Judge in this

 matter so the Court will present this Report and Recommendation to U.S. District Judge Rodney

 Gilstrap for adoption immediately upon issuance.
            SIGNED this 19th day of December, 2011.
          So ORDERED and SIGNED this 15th day of May, 2015.




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